                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2022-NCSC-33

                                             No. 90A21

                                       Filed 18 March 2022

     IN THE MATTER OF: C.S.




           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) (2019) from an order entered on

     8 December 2020 by Judge Clinton Rowe in District Court, Carteret County. This

     matter was calendared for argument in the Supreme Court on 18 February 2022 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Stephanie Sonzogni for petitioner-appellee Carteret County Department of
           Social Services; and William L. Esser IV for appellee Guardian ad Litem.

           Jeffrey L. Miller for respondent-appellant father.


           BARRINGER, Justice.

¶1         Respondent appeals from an order terminating his parental rights to the minor

     child C.S. (Carl).1 After careful review, we hold that the trial court did not err in

     finding past neglect or in determining that there was a likelihood of future neglect




           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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     and that terminating respondent’s rights was in Carl’s best interests. Accordingly,

     we affirm the trial court’s order terminating respondent’s parental rights.

                        I.   Factual and Procedural Background

¶2         When Carl was born, although Carl’s mother was married, her estranged

     husband denied paternity. Subsequent genetic testing excluded the estranged

     husband as Carl’s biological father.

¶3         A social worker from Carteret County Department of Social Services (DSS)

     visited the family and found that Carl appeared thin. The social worker scheduled a

     weight check at Carteret General Hospital. At the weight check, Carl weighed 12.5%

     less than he did at birth. Carl was hospitalized and quickly gained weight, causing

     the doctor to opine that his failure to thrive was due to receiving insufficient calories.

     However, Carl’s mother refused to nurse, pump, or wake up at night to feed him. DSS

     filed a juvenile petition alleging that Carl was neglected and dependent. Additionally,

     DSS obtained nonsecure custody of Carl and placed him in foster care.

¶4         Carl’s mother identified respondent as the potential father of Carl. A paternity

     test confirmed that respondent was Carl’s biological father. The trial court entered a

     consent adjudication order, signed by respondent and his attorney, as well as the

     other relevant parties, adjudicating Carl a neglected and dependent juvenile. Carl’s

     mother later relinquished her parental rights to Carl.
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¶5         Following a hearing that respondent did not attend, the trial court established

     a primary plan for Carl of reunification with a secondary plan of adoption.

     Respondent was ordered to refrain from using nonprescribed and illegal substances;

     submit to random drug screens; complete a substance abuse assessment and follow

     all recommendations; complete a parenting assessment/psychological evaluation and

     follow all recommendations; complete parenting classes; maintain stable housing;

     provide proof of employment and a budget; keep his social worker updated with

     pertinent information; and sign necessary releases to allow DSS to access information

     from the required assessments and related records. The trial court granted

     respondent one hour of weekly supervised visitation with Carl.

¶6         Respondent failed to attend the initial review hearing held on 14 June 2019.

     In the resulting order, the trial court noted that respondent was failing to engage in

     the reunification plan, was failing to consistently attend visitations, had not been

     communicating with his social worker, and had missed a scheduled Child and Family

     Team Meeting. Afterwards, respondent continued to not follow through with any of

     the services outlined in his reunification plan and, on 25 June 2019, was arrested for

     violating a domestic violence protective order. On 28 August 2019, the trial court

     changed Carl’s primary permanent plan to adoption with a secondary plan of

     reunification with respondent.
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¶7         Respondent finally attended his first Child and Family Team meeting after the

     trial court changed Carl’s permanent plan to adoption. Additionally, after the

     permanent plan changed, respondent started to attend visitations with Carl more

     consistently. Yet, at the visits, respondent spent considerable time viewing and

     taking pictures of Carl’s genitals and bottom during diaper changes. After being

     instructed to refrain from photographing Carl’s genitals, respondent complained and

     stopped changing Carl’s diaper during visitations. Respondent also ignored the social

     worker’s attempts to redirect or instruct him regarding Carl’s needs and often failed

     to provide appropriate food or supplies at visits. After several weeks of visitations

     during which the social worker attempted to instruct him on appropriate behaviors

     and interactions with Carl, respondent engaged less with Carl during the visits.

¶8         In a subsequent permanency-planning-review order, the trial court again

     found respondent had failed to make sufficient progress towards reunification. The

     trial court found that respondent had recently been charged with rape; had taken

     photographs of his son’s genital area on numerous visitations; had failed to complete

     the recommended mental health and substance abuse treatment or to complete a

     parenting evaluation; lacked safe, stable, and long-term housing; had failed to

     provide DSS with a current address, employment verification, or a budget; and had

     otherwise failed to maintain consistent contact with DSS. The trial court concluded

     that it was in Carl’s best interests that the primary plan be adoption with a secondary
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       plan of reunification and that termination of parental rights was required to

       effectuate this plan.

¶9           On 19 November 2019, DSS filed a motion to terminate respondent’s parental

       rights to Carl on the grounds of neglect, failure to pay a reasonable portion of the

       costs of care for Carl for the preceding six months, and dependency. See N.C.G.S.

       § 7B-1111(a)(1), (3), (6) (2021). The trial court entered an order terminating

       respondent’s parental rights on 8 December 2020. In the order, the trial court

       adjudicated that a ground existed to terminate respondent’s parental rights for

       neglect under N.C.G.S. § 7B-1111(a)(1). The trial court further determined that

       terminating respondent’s rights was in Carl’s best interests.

¶ 10         Respondent appealed. On appeal, respondent challenges the trial court’s

       adjudication that the ground of neglect existed to terminate his parental rights

       pursuant to N.C.G.S. § 7B-1111(a)(1) as well as the trial court’s determination that

       termination was in Carl’s best interests.

                                        II.     Analysis

       A. Standard of Review

¶ 11         The North Carolina Juvenile Code sets out a two-step process for termination

       of parental rights: an adjudicatory stage and a dispositional stage. N.C.G.S. §§ 7B-

       1109 to -1110 (2021). At the adjudicatory stage, the trial court takes evidence, finds

       facts, and adjudicates the existence or nonexistence of the grounds for termination
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       set forth in N.C.G.S. § 7B-1111. N.C.G.S. § 7B-1109(e). If the trial court adjudicates

       that one or more grounds exist, the trial court then proceeds to the dispositional stage

       where it determines whether termination of parental rights is in the juvenile’s best

       interests. N.C.G.S. § 7B-1110(a).

¶ 12         Appellate courts review a trial court’s adjudication to determine whether the

       findings are supported by clear, cogent, and convincing evidence and whether the

       findings support the conclusions of law. In re N.P., 374 N.C. 61, 62–63 (2020). In doing

       so, we limit our review to “only those findings necessary to support the trial court’s

       determination that grounds existed to terminate respondent’s parental rights.” In re

       T.N.H., 372 N.C. 403, 407 (2019). “A trial court’s finding of fact that is supported by

       clear, cogent, and convincing evidence is deemed conclusive even if the record

       contains evidence that would support a contrary finding.” In re B.O.A., 372 N.C. 372,

       379 (2019). Further, “[f]indings of fact not challenged by respondent are deemed

       supported by competent evidence and are binding on appeal.” In re T.N.H., 372 N.C.

       at 407. We review the trial court’s conclusions of law de novo. In re C.B.C., 373 N.C.

       16, 19 (2019).

¶ 13         “The [trial] court’s assessment of a juvenile’s best interest at the dispositional

       stage is reviewed only for abuse of discretion.” In re A.R.A., 373 N.C. 190, 199 (2019).

       “[A]buse of discretion results where the court’s ruling is manifestly unsupported by

       reason or is so arbitrary that it could not have been the result of a reasoned decision.”
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       Id. (alteration in original) (quoting In re T.L.H., 368 N.C. 101, 107 (2015)).

       B. Neglect

¶ 14         The trial court concluded that a ground existed to terminate respondent’s

       parental rights to Carl for neglect under N.C.G.S. § 7B-1111(a)(1). The Juvenile Code

       authorizes the trial court to terminate parental rights if “[t]he parent has abused or

       neglected the juvenile” as defined in N.C.G.S. § 7B-101. N.C.G.S. § 7B-1111(a)(1). A

       neglected juvenile is defined, in pertinent part, as a juvenile “whose parent . . . [d]oes

       not provide proper care, supervision, or discipline . . . [or c]reates or allows to be

       created a living environment that is injurious to the juvenile’s welfare.” N.C.G.S.

       § 7B-101(15) (2021). “[I]f the child has been separated from the parent for a long

       period of time, there must be a showing of past neglect and a likelihood of future

       neglect by the parent.” In re D.L.W., 368 N.C. 835, 843 (2016). “A parent’s failure to

       make progress in completing a case plan is indicative of a likelihood of future neglect.”

       In re M.A., 374 N.C. 865, 870 (2020) (cleaned up).

¶ 15         Respondent asserts that the trial court had no foundation for finding past

       neglect in finding of fact one—that “[respondent] has neglected the juvenile.”

       According to respondent, the trial court could not have found past neglect when there

       was no evidence that respondent had custody of Carl in the past or was responsible

       for any neglect Carl experienced. Respondent argues that the trial court wrongly

       considered respondent’s incompletion of his case plan as evidence of past neglect.
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       Without a finding of past neglect, respondent further contends that the trial court

       could not have relied on the incompletion of his case plan to determine that there was

       a likelihood of future neglect.

¶ 16         This Court has long recognized that “evidence of neglect by a parent prior to

       losing custody of a child—including an adjudication of such neglect—is admissible in

       subsequent proceedings to terminate parental rights.” In re Ballard, 311 N.C. 708,

       715 (1984). In subsequent cases, we clarified that “[i]t is . . . not necessary that the

       parent whose rights are subject to termination be responsible for the prior

       adjudication of neglect.” In re J.M.J.-J., 374 N.C. 553, 565 (2020). Here, there was a

       prior adjudication of neglect. The trial court both took judicial notice of this prior

       adjudication of neglect and admitted it into evidence. Respondent never objected,

       either to the original adjudication or to its admission into evidence. Accordingly, the

       trial court did not err in finding past neglect in this case.

¶ 17         Outside of arguing that a trial court cannot determine that there is a likelihood

       of future neglect without first finding that the respondent himself neglected the child

       in the past, respondent does not otherwise challenge the trial court’s determination

       in this case that there was a “substantial probability of a repetition of neglect.”

       Having overruled respondent’s arguments concerning past neglect, there remains no

       other challenge to the trial court’s determination that there was a likelihood of future
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       neglect. Therefore, we affirm the trial court’s adjudication that the ground of neglect

       existed in this case.

       C. Best Interests

¶ 18          At the dispositional stage of a termination proceeding, the trial court

       determines whether terminating the parent’s rights is in the child’s best interests.

       N.C.G.S. § 7B-1110(a). “The [trial] court may consider any evidence, including

       hearsay evidence as defined in [N.C.]G.S. [§] 8C-1, Rule 801, that the [trial] court

       finds to be relevant, reliable, and necessary to determine the best interests of the

       juvenile.” Id.

¶ 19          Additionally, the trial court must

                        consider the following criteria and make written findings
                        regarding the following that are relevant:

                        (1) The age of the juvenile.

                        (2) The likelihood of adoption of the juvenile.

                        (3) Whether the termination of parental rights will aid in
                        the accomplishment of the permanent plan for the juvenile.

                        (4) The bond between the juvenile and the parent.

                        (5) The quality of the relationship between the juvenile
                        and the proposed adoptive parent, guardian, custodian, or
                        other permanent placement.

                        (6) Any relevant consideration.

       Id. Although the statute requires the trial court to consider each of the statutory
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       factors, the trial court is only required to make written findings regarding those

       factors that are relevant. In re A.R.A., 373 N.C. at 199. A factor is relevant if there is

       conflicting evidence concerning that factor. Id. If supported by the evidence received

       during the termination hearing or not specifically challenged on appeal, the trial

       court’s dispositional findings are binding on appeal. In re S.C.C., 379 N.C. 303, 2021-

       NCSC-144, ¶ 22.

¶ 20         Respondent argues that the trial court abused its discretion in terminating his

       parental rights because it failed to make findings concerning all of the factors

       relevant to Carl’s best interests; specifically, a finding regarding respondent’s bond

       with Carl pursuant to N.C.G.S. § 7B-1110(a)(4). Respondent argues that there was

       conflicting evidence in this case concerning the bond between respondent and Carl.

¶ 21         Here, the trial court explicitly found that “[respondent] obviously loves [Carl].”

       This finding shows that the trial court considered respondent’s bond with Carl.

       Moreover, this finding was made in the context of the trial court considering other

       relevant facts. The trial court found that “[Carl] would benefit from the stability and

       love of a permanent family. While [respondent] obviously loves [Carl], he is not in a

       position to meet [Carl’s] needs in a safe, nurturing, and stable environment.” This

       Court has previously held that the trial court adequately addresses the parent-child

       bond when it finds “that any previous bond or relationship with the [respondent

       parent i]s outweighed by [the child’s] need for permanence.” In re A.R.A., 373 N.C. at
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       200. Here, the trial court found that Carl had a “very” strong bond with his foster

       parents, having spent most of his life with them. These findings reflect that the trial

       court considered Carl’s bond with his father, and the trial court did not abuse its

       discretion in determining it was in Carl’s best interests to terminate respondent’s

       parental rights.

                                      III.    Conclusion

¶ 22         The trial court did not err when it adjudicated that a ground existed to

       terminate respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(1). Nor did

       the trial court abuse its discretion when it determined that the termination of

       respondent’s parental rights was in Carl’s best interests. Accordingly, we affirm the

       order terminating respondent’s parental rights.

             AFFIRMED.
